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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA
ex rel. TULLIO EMANUELE,

       Plaintiff,                                   Civil Action No. 10-245E

v.

MEDICOR ASSOCIATES, INC., et al.,

      Defendants.
_________________________________

                                      ORDER

       Upon consideration, and consistent with the terms of the Parties’ Settlement Agreement,

dated as of March 6, 2018, the Parties’ Joint Stipulation of Dismissal under Federal Rule of Civil

Procedure 41(a)(1)(A)(ii) is hereby GRANTED. This action is dismissed with prejudice to the

United States and Plaintiff-Relator, with the Parties bearing their own costs except as provided in

the terms of their Settlement Agreement and documents referenced therein. The Clerk is directed

to close the FDVH



       Dated: March ___,
                      2018                               ___________________________
                                                            T+PZ'MPXFST$POUJ
                                                           Hon. Joy Flowers Conti
                                                           Chief United States District Judge
